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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


In re Terrorist Attacks on September 11, 2001      03 MDL 1570 (GBD)(SN)



This document relates to:
Jessica DeRubbio, et al. v. Islamic Republic of Iran, No. 1:18-cv-05306 (GBD) (SN)
Roberta Agyeman, et al. v. Islamic Republic of Iran, No. 1:18-cv-05320 (GBD) (SN)
Horace Morris, et al. v. Islamic Republic of Iran, No. 1:18-cv-05321 (GBD) (SN)
Laurence Schlissel, et al. v. Islamic Republic of Iran, No. 1:18-cv-05331 (GBD) (SN)
Bakahityar Kamardinova, et al. v. Islamic Republic of Iran, No. 1:18-cv-05339 (GBD) (SN)
Lloyd A. Abel Sr., et al. v. Islamic Republic of Iran, No. 1:18-cv-11837 (GBD) (SN)
Chang Don Kim, et al. v. Islamic Republic of Iran, No. 1:18-cv-11870 (GBD) (SN)
Alexander Jimenez, et al. v. Islamic Republic of Iran, No. 1:18-cv-11875 (GBD) (SN)
Cheryl Rivelli, et al. v. Islamic Republic of Iran, No. 1:18-cv-11878 (GBD) (SN)
Gordon Aamoth, Sr., et al. v. Islamic Republic of Iran, No. 1:18-cv-12276 (GBD) (SN)
Marinella Hemenway, et al. v. Islamic Republic of Iran, No. 1:18-cv-12277 (GBD) (SN)
Matthew Rowenhorst, et al. v. Islamic Republic of Iran, No. 1:18-cv-12387 (GBD) (SN)
Deborah Bodner, et al. v. Islamic Republic of Iran, No. 1:19-cv-11776 (GBD) (SN)
August Bernaerts, et al. v. Islamic Republic of Iran, No. 1:19-cv-11865 (GBD) (SN)
Ber Barry Aron, et al. v. Islamic Republic of Iran, No. 1:20-cv-09376 (GBD) (SN)
Paul Asaro, et al. v. Islamic Republic of Iran, No. 1:20-cv-10460 (GBD) (SN)
Nicole Amato, et al. v. Islamic Republic of Iran, No. 1:21-cv-10239 (GBD) (SN)
Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD) (SN)

   [PROPOSED] ORDER OF FINAL JUDGMENTS AS TO LIABILITY AND FOR
PARTIAL FINAL DAMAGES JUDGMENTS AGAINST THE ISLAMIC REPUBLIC OF
                   IRAN FOR NON-U.S. NATIONALS

        Upon consideration of the evidence and arguments submitted by non-U.S. National

Plaintiffs in the above-captioned matters as specifically identified in attached Exhibits A-1 to A-

17) (collectively, “Exhibits A”) and attached Exhibits B-1 to B-16 (collectively, “Exhibits B”),

together with the entire record in the case, IT IS HEREBY

        ORDERED that service of process in the above-captioned matters was effected upon

Defendant Islamic Republic of Iran (“Iran”) in accordance with 28 U.S.C. § 1608(a) for




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sovereign defendants and 28 U.S.C. § 1608(b) for agencies and instrumentalities of sovereign

defendants;1 and it is further

          ORDERED that the Court has subject-matter jurisdiction over the state law claims of the

Plaintiffs identified in the attached Exhibits A and Exhibits B (“Moving Plaintiffs”), pursuant to

28 U.S.C. § 1605B; and it is further

          ORDERED that the Court has subject-matter jurisdiction over Iran under the state law

for actions arising out of wrongful death, assault, battery, survival, and intentional infliction of

emotional distress based on the intentional acts of international terrorism perpetrated on

September 11, 2001 that intentionally targeted innocent civilians resulting in death, personal

injury, and significant grief sustained by family members of those killed in the attacks; and it is

further

          ORDERED that judgments as to liability are entered for the Moving Plaintiffs for their

state law claims; and it is further

          ORDERED that Iran is found to be jointly and severally liable with the Taliban and that

Moving Plaintiffs are awarded damages judgments in the same amounts previously awarded by

this Court to various similarly situated plaintiffs in Burnett, Havlish, Ashton, Bauer, O’Neill, and

other cases; and it is further

          ORDERED that Plaintiffs identified in the attached Exhibits A are awarded intentional

infliction of emotional distress (solatium) damages of $12,500,000 per spouse, $8,500,000 per

parent, $8,500,000 per child, and $4,250,000 per sibling, as set forth in the attached Exhibits A;

and it is further




1
  This only applies for the plaintiffs in the above-referenced 2018 matters and Susan M. King, et al. v.
Islamic Republic of Iran, No. 1:22-cv-05193 (GBD) (SN).

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        ORDERED that the estates of the 9/11 decedents, through the personal representatives

and on behalf of all survivors and all legally entitled beneficiaries and family member of such

9/11 decedents, as identified by the Plaintiffs set forth in Exhibits B, are awarded compensatory

damages for pain and suffering in the same per estate amount previously awarded by this Court

regarding other estates of decedents killed in the September 11th attacks, as set forth in Exhibits

B; and it is further

        ORDERED that certain Plaintiffs identified in the attached Exhibits B are awarded

compensatory damages for decedents’ pain and suffering in an amount of $2,000,000 per estate,

as set forth in the attached Exhibits B; and it is further

        ORDERED that the estates of the 9/11 decedents, through their personal representatives

and on behalf of all survivors and all legally entitled beneficiaries and family member of such

9/11 decedents, as identified in Exhibits B, are awarded economic damages in the amounts as set

forth in Exhibits B; and it is further

        ORDERED that Moving Plaintiffs are awarded prejudgment interest at the rate of 4.96

percent per annum, compounded annually for the period from September 11, 2001 until the date

of the judgment for damages; and it is further

        ORDERED that Moving Plaintiffs may apply for punitive damages, economic damages,

and other appropriate damages, at a later date; and it is further

        ORDERED that all other Plaintiffs in the above-captioned matters not appearing in the

attached Exhibits A and Exhibits B may submit applications for damages awards in later stages,

to the extent such awards have not previously been addressed.

        Furthermore, the Court respectfully directs the Clerk of the Court to terminate the motion

at ECF No. 9320.



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                                     SO ORDERED:



                                     GEORGE B. DANIELS
                                     United States District Judge
Dated:    New York, New York
          ___________ __, 202_




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